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                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION
CARLOS PADILLA, JORGE                    }
ORTIZ, and DEMETRIO                      }
PADILLA,                                 }
                                         }
      Plaintiffs,                        }   Case No.: 2:17-cv-01826-MHH
                                         }
v.                                       }
                                         }
REDMONT PROPERTIES, LLC,                 }
REDMONT PROPERTIES E.G.,                 }
LLC, REDMONT PROPERTIES                  }
OF HOMEWOOD, LLC, FRED G.                }
NUNNELLEY, III, and RM                   }
MANAGEMENT, LLC,                         }
                                         }
      Defendants.                        }


                         MEMORANDUM OPINION
      This opinion concerns a proposed FLSA settlement. Plaintiff Carlos Padilla

brought this lawsuit against defendants Redmont Properties, LLC; Redmont

Properties E.G., LLC; Redmont Properties of Homewood, LLC; RM Management,

LLC; and Fred G. Nunnelly, III on behalf of himself and other similarly situated

individuals. (Doc. 1). Mr. Padilla originally asserted a claim for violation of the

Fair Labor Standards Act‟s overtime provision, 29 U.S.C. § 207(a)(1), against the

defendants. (Doc. 1, p. 8). Mr. Padilla later amended his complaint to add claims

for race discrimination under Title VII and 42 U.S.C. § 1981 and to add two


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similarly situated individuals, Jorge Ortiz and Demetrio Padilla, as plaintiffs.

(Doc. 28-3).

      The parties have agreed to settle the plaintiffs‟ FLSA claims for unpaid

overtime wages, and they have asked the Court to review the terms of the proposed

settlement. (Doc. 32). The three settlement agreements are identical in their terms,

except for the specific sums the defendants will pay to each plaintiff. For the

reasons stated below, the Court approves the parties‟ proposed FLSA settlements

because they are fair and reasonable compromises of a bona fide dispute.

        I.     BACKGROUND

      The plaintiffs are residents of Birmingham who performed maintenance and

repair work on residential properties owned and managed by the defendants in

Jefferson County, Alabama. (Doc. 28-3, ¶¶ 12, 18–19; Doc. 11, ¶ 16). Carlos

Padilla has worked on the defendants‟ properties since 2001. (Doc. 32-1, p. 8, ¶ 2).

Jorge Ortiz and Demetrio Padilla have worked on the defendants‟ properties since

2002. (Doc. 32-2, p. 8, ¶ 2; Doc. 32-3, p. 8, ¶ 2). The plaintiffs allege that they

regularly spent more than 40 hours each week painting and performing

maintenance for the defendants. (Doc. 28-3, ¶¶ 12, 20). Carlos Padilla contends

that, during the years 2016 and 2017, he often worked more than double the

standard forty-hour workweek maintaining the defendants‟ properties. (Doc. 28-3,

¶¶ 28–29).     Although the defendants were aware that the plaintiffs routinely


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worked more than 40 hours per week, the defendants did not compensate the

plaintiffs at the required time-and-a-half rate for overtime hours. (Doc. 28-3, ¶¶

22–25).

      The defendants argue that they have no obligation to the plaintiffs under the

FLSA because the plaintiffs are independent contractors who are exempt from the

FLSA‟s wage requirements. (Doc. 11, ¶¶ 17, 19; Doc. 32, ¶ 4). The defendants

also contest the numbers of hours that the plaintiffs contend they worked during

2016 and 2017. (Doc. 32, ¶ 4).

      With the assistance of a mediator, the parties negotiated a settlement of the

plaintiffs‟ FLSA claims. (Doc. 32, ¶ 2). In exchange for dismissal of the FSLA

claims with prejudice, the defendants have agreed to settle each FLSA claim as

follows: Carlos Padilla will receive $65,660.78 (Doc. 32-1, p. 1); Jorge Ortiz will

receive $60,911.85 (Doc. 32-2, p. 1); and Demetrio Padilla will receive $9,956.59

(Doc. 32-3, p. 1). Additionally, defendants will pay a total attorney‟s fee of

$8,000.00. (Doc. 32-1, p. 2; Doc. 32-2, p. 2; Doc. 32-3, p. 2).

      On this record, the Court considers the parties‟ motion to approve the

proposed settlement of the plaintiffs‟ FLSA claims.

II.   DISCUSSION

      “Congress enacted the FLSA in 1938 with the goal of „protect[ing] all

covered workers from substandard wages and oppressive working hours.‟ Among


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other requirements, the FLSA obligates employers to compensate employees for

hours in excess of 40 per week at a rate of 1½ times the employees‟ regular

wages.” Christopher v. SmithKline Beecham Corp., 567 U.S. 142, 147 (2012)

(quoting Barrentine v. Arkansas-Best Freight Sys., Inc., 450 U.S. 728, 739 (1981));

see also 29 U.S.C. §§ 202, 207(a). Congress designed the FLSA “to ensure that

each employee covered by the Act would receive „[a] fair day‟s pay for a fair day‟s

work‟ and would be protected from „the evil of „overwork‟ as well as „underpay.‟‟”

Barrentine, 450 U.S. at 739 (emphasis in original) (quoting Overnight Motor

Trans. Co. v. Missel, 316 U.S. 572, 578 (1942)). In doing so, Congress sought to

protect, “the public‟s independent interest in assuring that employees‟ wages are

fair and thus do not endanger „the national health and well-being.‟” Stalnaker v.

Novar Corp., 293 F. Supp. 2d 1260, 1264 (M.D. Ala. 2003) (quoting Brooklyn

Savs. Bank v. O’Neil, 324 U.S. 697, 706 (1945)).

      If an employee proves that her employer violated the FLSA, the employer

must remit to the employee all unpaid wages or compensation, liquidated damages

in an amount equal to the unpaid wages, a reasonable attorney‟s fee, and costs. 29

U.S.C. § 216(b). “FLSA provisions are mandatory; the „provisions are not subject

to negotiation or bargaining between employer and employee.‟” Silva v. Miller,

307 Fed. Appx. 349, 351 (11th Cir. 2009) (quoting Lynn’s Food Stores, Inc. v. U.S.

ex. rel. U.S. Dep’t of Labor, 679 F.2d 1350, 1352 (11th Cir. 1982)); see also


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Brooklyn, 324 U.S. at 707. “Any amount due that is not in dispute must be paid

unequivocally; employers may not extract valuable concessions in return for

payment that is indisputably owed under the FLSA.” Hogan v. Allstate Beverage

Co., Inc., 821 F. Supp. 2d 1274, 1282 (M.D. Ala. 2011).

      Consequently, parties may settle an FLSA claim for unpaid wages only if

there is a bona fide dispute relating to a material issue concerning the claim. To

compromise a claim for unpaid wages, the parties must “present to the district

court a proposed settlement, [and] the district court may enter a stipulated

judgment after scrutinizing the settlement for fairness.” Lynn’s Food, 679 F.2d at

1352; see also Hogan, 821 F. Supp. 2d at 1281-82. “[T]he parties requesting

review of an FLSA compromise must provide enough information for the court to

examine the bona fides of the dispute.” Dees v. Hydradry, Inc., 706 F. Supp. 2d

1227, 1241 (M.D. Fla. 2010). The information that the parties provide should

enable the Court “to ensure that employees have received all uncontested wages

due and that they have received a fair deal regarding any additional amount that

remains in controversy.” Hogan, 821 F. Supp. 2d at 1282. “If a settlement in an

employee FLSA suit does reflect a reasonable compromise over issues, such as

FLSA coverage or computation of back wages, that are actually in dispute,” then a

court may approve the settlement. Lynn’s Food, 679 F.2d at 1354; see also Silva,




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307 Fed. Appx. at 351 (emphasizing that a proposed settlement must be fair and

reasonable).

      The Court finds that there is a bona fide dispute in this matter that supports

the parties‟ proposed FLSA settlement. The plaintiffs maintain that the defendants

failed to compensate them as required by the FLSA. (Doc. 28-3, p. 4). The

defendants contend that they had no obligation to the plaintiffs under the FLSA

because the plaintiffs were independent contractors, not employees. (Doc. 24, ¶

19). This bona fide dispute supports the parties‟ proposed settlement.

      The Court finds that the method used to calculate the plaintiffs‟ disputed

wages is fair and reasonable. The settlement proceeds of $65,660.78 for Carlos

Padilla, $60,911.85 for Jorge Ortiz, and $9,956.69 for Demetrio Padilla represent a

fair and reasonable compromise based on the existing evidence regarding unpaid

wages. (Doc. 32-1, p. 1; Doc. 32-2, p. 1; Doc. 32-3, p. 1). The plaintiffs, in signed

declarations, state that they reviewed their existing time records with the assistance

of plaintiff‟s counsel before agreeing to these settlements. (Doc. 32-1, p. 8, ¶ 5;

Doc. 32-2, p. 8, ¶ 6; Doc. 32-3, p. 8, ¶ 6). Based on a review of their time records,

the plaintiffs stipulate that the sums to be paid under the settlement agreements

represent “100% of their claimed and disputed unpaid wages, overtime wages, and




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liquidated damages over a two year time frame.”1 (Doc. 32, ¶ 3; Doc. 32-1, p. 8 ¶¶

5, 7; Doc. 32-2, p. 8, ¶¶ 6, 8; Doc. 32-3, p. 8, ¶¶ 6, 8).

       In addition to the sums recovered by the plaintiffs, the defendants have

agreed to pay plaintiffs‟ attorney‟s fees and costs. (Doc. 32-1, p. 1; Doc. 32-2, p.

1; Doc. 32-3, p. 1). In total, the defendants have agreed to pay $8,000 in fees and

costs to Bonet & Smith, P.C. (Doc. 32-1, ¶ 2; Doc. 32-2, ¶ 2; Doc. 32-3, ¶ 2). The

Court reviews the attorney‟s fees awarded under the agreement “to assure both that

counsel is compensated adequately and that no conflict of interest taints the

amount the wronged employee recovers under a settlement agreement.” Silva, 307

Fed. Appx. at 351 (citing Lynn’s Food, 679 F.2d at 1352). The plaintiffs stipulate

that the total amount to be paid by the defendants represents the costs and fees that

they incurred to bring this action. (Doc. 32-1, p. 8 ¶ 6; Doc. 32-2, p. 8, ¶ 7; Doc.

32-3, p. 8, ¶ 7). All parties stipulate that the defendants‟ agreement to pay these

fees did not adversely affect the plaintiffs‟ recovery. (Doc. 32, ¶ 3). The total fees

and costs appear modest in relation to the plaintiffs‟ total recovery and to the

amount that each plaintiff will receive. Thus, the fees and costs that the defendants

will pay do not suggest that plaintiffs‟ counsel was pursuing her own interests at

the expense of her clients during the settlement negotiations. And, based on the


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  The statute of limitations on claims for non-willful violations of the FLSA is two years.
29 U.S.C. § 255(a). The plaintiffs have agreed that the two-year limit, rather than the three-year
limit for willful violations, applies to their claims. (Doc. 32, ¶ 3).
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plaintiffs‟ declarations, the Court concludes that plaintiffs‟ counsel has been

adequately compensated for her efforts.

      The parties have included a release provision in their agreement. (Doc. 32-

1, ¶ 3; Doc. 32-2, ¶ 3; Doc. 32-3, ¶ 3). The Court must review this provision to

ensure that the defendants are not using an FLSA claim “to leverage a release from

liability unconnected to the FLSA.” Moreno v. Regions Bank, 729 F. Supp. 2d

1346, 1351 (M.D. Fla. 2010); see also Hogan, 821 F. Supp. 2d at 1282 (stating that

an employer may not require valuable concessions for wages due under the FLSA).

The provision in the parties‟ proposed settlement is entitled “FLSA Release,” and

it requires the plaintiffs to forfeit “any claim arising under the FLSA,” that accrued

prior to the date of the agreement. (Doc. 32-1, ¶ 3). The provision covers only

extant FLSA claims and expressly provides that the plaintiffs retain the right to

bring claims for future FLSA violations. (Doc. 32-1, ¶ 3). The provision is not

susceptible of a reading that broadens the scope of the plaintiffs‟ release to cover

matters unconnected with the FLSA. Therefore, the release provision is not an

obstacle to the Court‟s approval of the parties‟ agreement.

      Finally, the parties have included a section entitled “Covenant Not to Sue” in

their agreement. (Doc. 32-1, ¶ 5; Doc. 32-2, ¶ 5; Doc. 32-3, ¶ 5). The language in

this provision is broad: “This Agreement may be introduced as evidence at any

legal proceedings as a complete defense to any claims existing as of the date of this


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Agreement or that could have been asserted by Plaintiff against Defendants.”

(Doc. 32-1, ¶ 5; Doc. 32-2, ¶ 5; Doc. 32-3, ¶ 5).            The Court limits the

enforceability of this provision to FLSA claims existing as of the date of the FLSA

settlement agreement. The Court gave the parties an opportunity to object to the

limitation, and the parties raised no objection. (Doc. 34). Thus, the covenant

language in the parties‟ settlement agreements is unenforceable to the extent that it

pertains to any claim other than the plaintiffs‟ curremt FLSA claims.

III.   CONCLUSION

       For the reasons stated above, the Court approves the parties‟ proposed FLSA

settlements. The parties separately have agreed to dismiss the plaintiffs‟ remaining

claims under Title VII and section 1981 with prejudice. (Doc. 33). Therefore, the

Court will enter a separate order dismissing the case.

       DONE and ORDERED this November 30, 2018.


                                    _________________________________
                                    MADELINE HUGHES HAIKALA
                                    UNITED STATES DISTRICT JUDGE




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